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 8
                                 UNITED STATES DISTRICT COURT
 9                                    DISTRICT OF NEVADA
10
                                                     Case No. 2:20-cv-00331-JCM-BNW
11   ROSEMARY M. STEVENS,
12                  Plaintiff,                       Stipulation to Dismiss Case

13         v.
14 THE UNITED STATES OF AMERICA;

15 DOES I through X, ROE CORPORATIONS
   1 through X inclusive,
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                 Defendant.
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18          It is hereby stipulated by and between the Plaintiff, Rosemary M. Stevens, and
19 Defendant, United States of America, that this lawsuit be dismissed, with prejudice, with

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                                               24 Filed 11/10/21
                                                        11/08/21 Page 2 of 2




 1   each party to bear their own fees and costs.
 2          Dated this 8th day of November 2021.
 3    BENSON & BINGHAM                                  CHRISTOPHER CHIOU
 4   /s/_Dana P. Oswalt_______                          Acting United States Attorney
     DANA P. OSWALT, ESQ.                               /s/ Skyler H. Pearson
 5   Nevada Bar No. 12061                               SKYLER H. PEARSON
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 8   Attorneys for Plaintiff
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10                                                  IT IS SO ORDERED:

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12                                                  UNITED STATES DISTRICT JUDGE
13                                                  UNITED STATES MAGISTRATE JUDGE

14                                                  DATED:     November 10, 2021

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